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                          THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MINNESOTA


 SMARTMATIC USA CORP.,                          )
 SMARTMATIC                                     )
 INTERNATIONAL HOLDING B.V. and                 )
 SGO CORPORATION LIMITED,                       )
                                                )
                       Plaintiffs,              ) Case No. 22-cv-00098-JMB-JFD
                                                )
 v.                                             )
                                                )
 MICHAEL J. LINDELL and MY PILLOW,              )
 INC.,                                          )
                                                )
                 Defendants.
________________________________________________________________________

                              NOTICE OF WITHDRAWAL

TO:    The Clerk of the Above-Named Court and to All Parties and Counsel of Record

       PLEASE TAKE NOTICE that attorney Douglas G. Wardlow hereby withdraws as

counsel of record herein for Defendants Michael J. Lindell and My Pillow, Inc., pursuant

to Local Rule 83.7. All other counsel of record for Defendants Michael J. Lindell and My

Pillow, Inc. remain.

Dated: May 2, 2025                             Respectfully submitted,

                                               /s/ Douglas G. Wardlow
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                                               Lindell and My Pillow, Inc.
